989 F.2d 492
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kevin Michael HIGGINS, Plaintiff-Appellant,v.Michael BRAVE, M.D.;  Dale Sage, R.N.;  All in theirofficial and personal capacities, Defendants-Appellees.
    No. 92-7175.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  December 21, 1992Decided:  March 12, 1993
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  William M. Nickerson, District Judge.  (CA-92-1283-WN)
      Kevin Michael Higgins, Appellant Pro Se.
      Philip Melton Andrews, KRAMON &amp; GRAHAM, P.A., Baltimore, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before WILKINSON and NIEMEYER, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Kevin Michael Higgins appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Higgins v. Brave, No. CA-92-1283-WN (D. Md. Oct. 21, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    